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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS


CHEMETCO SITE PRP GROUP,                               )
                                                       )
                Plaintiff,                             )
                                                       )
         v.                                            )     Civil Action No. 18-179-SMY-SCW
                                                       )
A SQUARE SYSTEMS, INC., et al.,                        )
                                                       )
                Defendants.                            )

                NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
              MARCO INTERNATIONAL CORPORATION WITH PREJUDICE

         Plaintiff Chemetco Site PRP Group, through counsel and pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(i), voluntarily dismisses Defendant Marco International Corporation

from this cause with prejudice. Marco International Corporation has not filed an answer or

motion for summary judgment in this cause.

Dated:     April 16, 2018                    Respectfully submitted,

                                             THE JUSTIS LAW FIRM LLC


                                             /s/ Gary D. Justis
                                             Gary D. Justis                 admitted in S.D. Ill.
                                             Rachel D. Guthrie              admitted in S.D. Ill.
                                             Matthew T. Merryman            admitted in S.D. Ill.
                                             10955 Lowell Ave.
                                             Suite 520
                                             Overland Park, KS 66210-2336
                                             Telephone: (913) 955-3712
                                             Facsimile: (913) 955-3711
                                             Email: gjustis@justislawfirm.com
                                                     rguthrie@justislawfirm.com
                                                     mmerryman@justislawfirm.com

                                             ATTORNEYS FOR PLAINTIFF CHEMETCO
                                             SITE PRP GROUP
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 16, 2018, a copy of the foregoing Notice of Voluntary

Dismissal of Defendant Marco International Corporation with Prejudice was filed electronically.

Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.

Parties may access the filing through the Court’s Electronic Case Filing System.

                                               /s/ Gary D. Justis
                                               Gary D. Justis




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